
PER CURIAM:
On or about April 29, 1976, employees of respondent, acting within the scope of their employment, were training students from Sherman High School in Seth, West Virginia, to shoot firearms. The employees had negligently selected the site for such activities and negligently supervised the students. As a result, bullets from the firearms struck claimant’s telephone cables, causing damage in the amount of $884.71. Claimant has received the sum of $442.35 from the Boone County Board of Education in partial payment of the damages, and now claimant seeks the sum of $442.36 from respondent. Believing that liability exists on the part of the respondent and that the damages are reasonable, the Court makes an award to the claimant in the amount of $442.36.
Award of $442.36.
